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                                                              COMPLAINT EXHIBIT 13
                                                             U.S. Patent No. 8,050,321 (AV1)

As demonstrated in the chart below, ASUS directly and indirectly infringes at least claim 8 U.S. Patent No. 8,050,321 (the “’321 Patent”).
ASUS directly infringes, contributes to the infringement of, and/or induces infringement of the ’321 Patent by making, using, selling,
offering for sale, and/or importing into the United States the Accused Products that are covered by one or more claims of the ’321 Patent.
The Accused Products are devices that decode AV1-compliant video. For example, the ASUS Q543MV Notebook (“ASUS Q543MV”)
is a representative product for other ASUS devices that use graphics processing units that decode AV1-compliant video.

       The ASUS Q543MV contains at least one video decoder that helps decode AV1-compliant video. 1 While evidence from the
ASUS Q543MV is specifically charted herein, the evidence and contentions charted herein apply equally to the other ASUS Accused
Products that decode AV1-compliant video.

      No part of this exemplary chart construes, or is intended to construe, the specification, file history, or claims of the ’321 Patent.
Moreover, this exemplary chart does not limit, and is not intended to limit, Nokia’s infringement positions or contentions.

        The following infringement chart includes exemplary citations to AV1 Bitstream & Decoding Process Specification (available
at https://aomediacodec.github.io/av1-spec/av1-spec.pdf) (the “AV1 Specification”). Any ASUS device that includes a decoder that
practices the functionality in any of these editions of the AV1 Specification practices the claims of the ’321 Patent. As shown in the
chart below, each of the Accused Products includes at least one decoder for decoding encoded AV1-compliant video (“AV1 Decoder”)
to practice the AV1 Specification and is covered by the claims of ’321 Patent.

       Nokia contends each of the following limitations is met literally, and, to the extent a limitation is not met literally, it is met under
the doctrine of equivalents. 2




1
 See, e.g., https://www.asus.com/us/laptops/for-home/everyday-use/asus-vivobook-pro-15-oled-q543/techspec/;
https://www.intel.com/content/www/us/en/products/sku/236849/intel-core-ultra-9-processor-185h-24m-cache-up-to-5-10-ghz/specifications.html;
https://developer.nvidia.com/video-encode-and-decode-gpu-support-matrix-new.
2
 This claim chart is based on the information currently available to Nokia and is intended to be exemplary in nature. Nokia reserves all rights to update and
elaborate its infringement positions, including as Nokia obtains additional information during discovery.
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                                                                                                          U.S. Patent No. 8,050,321
U.S. Patent No. 8,050,321                                        ASUS Accused Products
8. [A] A method for         Each of the Accused Products, such as the ASUS Q543MV, performs a method for decoding a
decoding a compressed       compressed video sequence.
video sequence,
                            For example, and without limitation, the Asus Q543MV uses hardware-accelerated decoding and
                            includes an NVIDIA GeForce RTX 4060 Laptop graphics processing unit (“GPU”) and an Intel Core
                            Ultra 9 Processor 185H.




                            Source: https://www.asus.com/us/laptops/for-home/everyday-use/asus-vivobook-pro-15-oled-
                            q543/techspec/ (last accessed March 6, 2025).




                            Source: https://www.intel.com/content/www/us/en/products/sku/236849/intel-core-ultra-9-processor-
                            185h-24m-cache-up-to-5-10-ghz/specifications.html (last accessed March 6, 2025)(specifications for Intel
                            Core Ultra 9 185H).

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                                                                                      U.S. Patent No. 8,050,321




          Source: https://developer.nvidia.com/video-encode-and-decode-gpu-support-matrix-new (last accessed
          March 6, 2025)(row for 4060 Laptop GPU).

          The ASUS Q543MV, includes at least one AV1 Decoder for performing a method of decoding a
          compressed video sequence.

          For example and without limitation, the AV1 Specification specifies a decoding process that reads a
          bitstream representing coded pictures of a video sequence and derives decoded pictures from it.

          For example, an ASUS Q543MV was used to play back an AV1-compliant video.




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                                                                                                            U.S. Patent No. 8,050,321




                               Source: Screenshot of AV1-compliant video playback on ASUS Q543MV.

[B] the method                 Each of the Accused Products, such as the ASUS Q543MV, performs a method of decoding a
comprising: decoding from      compressed video sequence, the method comprising: decoding from the video sequence an indication
the video sequence an          of at least one image frame, which is the first image frame, in decoding order, of an independent
indication of at least one     sequence, wherein all motion-compensated temporal prediction references of the independent sequence
image frame, which is the      refer only to image frames within said independent sequence.
first image frame, in
decoding order, of an          For example and without limitation, the AV1 Specification also specifies decoding from the video
independent sequence,          sequence an indication of at least one image frame, which is the first image frame, in decoding order,
wherein all motion-            of an independent sequence, wherein all motion-compensated temporal prediction references of the
compensated temporal           independent sequence refer only to image frames within said independent sequence.
prediction references of the
independent sequence refer     For example, in the AV1 Specification, key frames begin an independent sequence. Key frames are intra
only to image frames           frames that “reset” the decoding process. Sequences starting with a key frame are independent of frames
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                                                                                                       U.S. Patent No. 8,050,321
within said independent   that precede the key frame and do not rely on those earlier frames for reference. This provides, e.g.,
sequence;                 error resiliency.

                          7.5. Ordering of OBUs

                                 A bitstream conforming to this specification consists of one or more coded video sequences.

                                 A coded video sequence consists of one or more temporal units. A temporal unit consists of a
                                 series of OBUs starting from a temporal delimiter, optional sequence headers, optional metadata
                                 OBUs, a sequence of one or more frame headers, each followed by zero or more tile group OBUs
                                 as well as optional padding OBUs.

                                 A new coded video sequence is defined to start at each temporal unit which satisfies both of the
                                 following conditions:

                                        • A sequence header OBU appears before the first frame header.

                                        • The first frame header has frame_type equal to KEY_FRAME, show_frame equal to
                                        1, show_existing_frame equal to 0, and temporal_id equal to 0.

                          (AV1 Bitstream & Decoding Process Specification, at 204).

                          2. Terms and definitions

                                 Key frame

                                 An Intra frame which resets the decoding process when it is shown.

                          (AV1 Bitstream & Decoding Process Specification, at 3).

                          6.8.14. Tile info semantics

                                 Each of these data values for each segment may be individually updated at the frame level.
                                 Where a value is not updated in a given frame, the value from the previous frame persists. The
                                 exceptions to this are key frames, intra only frames or other frames where independence from


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                 past frame values is required (for example to enable error resilience). In such cases all values
                 are reset as described in the semantics for setup_past_independence.

          (AV1 Bitstream & Decoding Process Specification, at 164).

          7.5. Ordering of OBUs

                 Otherwise (show_existing_frame is equal to 1), if frame_type is equal to KEY_FRAME, the
                 reference frame loading process as specified in section 7.21 is invoked (this process loads frame
                 state from the reference frames into the current frame state variables).

                 The following ordered steps now apply:

                        1. The reference frame update process as specified in section 7.20 is invoked (this
                        process saves the current frame state into the reference frames).

                        2. If show_frame is equal to 1 or show_existing_frame is equal to 1, the output process
                        as specified in section 7.18 is invoked (this will output the current frame or a saved
                        frame).

          (AV1 Bitstream & Decoding Process Specification, at 204).

          5.9.2. Uncompressed header syntax




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          (AV1 Bitstream & Decoding Process Specification, at 38).

          6.8.2. Uncompressed header semantics




          (AV1 Bitstream & Decoding Process Specification, at 150).
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                                                                                                             U.S. Patent No. 8,050,321



                             Further, the evidence cited for claim limitation 8[A] applies to this claim limitation.

[C] starting the decoding    Each of the Accused Products, such as the ASUS Q543MV, performs a method of decoding a
of the video sequence from   compressed video sequence, the method comprising: starting the decoding of the video sequence from
said first image frame of    said first image frame of the independent sequence, whereby the video sequence is decoded without
the independent sequence,    prediction from any image frame decoded prior to said first image frame.
whereby the video
sequence is decoded          For example and without limitation, the AV1 Specification also specifies starting the decoding of the
without prediction from      video sequence from said first image frame of the independent sequence, whereby the video sequence
any image frame decoded      is decoded without prediction from any image frame decoded prior to said first image frame.
prior to said first image
frame;                       For example, the AV1 Decoder starts the decoding of the video sequence from a key frame (the first
                             image frame of the independent sequence). The video sequence is then decoded without prediction from
                             any frames prior to the key frame.

                             2. Terms and definitions

                                    Key frame

                                    An Intra frame which resets the decoding process when it is shown.

                             (AV1 Bitstream & Decoding Process Specification, at 3).

                             6.8.13. Segmentation params semantics

                                    Each of these data values for each segment may be individually updated at the frame level.
                                    Where a value is not updated in a given frame, the value from the previous frame persists. The
                                    exceptions to this are key frames, intra only frames or other frames where independence from
                                    past frame values is required (for example to enable error resilience). In such cases all values
                                    are reset as described in the semantics for setup_past_independence.

                             (AV1 Bitstream & Decoding Process Specification, at 164).


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                                                                                                           U.S. Patent No. 8,050,321

                           7.6.3. Conformance requirements

                                  Informally, the requirement for decoder conformance is that decoding can start at any key frame
                                  random access point or delayed random access point. The rest of this section makes this
                                  requirement more precise.

                                  Starting at a key frame random access point is trivial, because if the earlier temporal units are
                                  dropped, the remaining temporal units still constitute a valid bitstream.

                                  Starting at a delayed random access point is harder to define because:

                                          • if all temporal units before the key frame dependent recovery point are dropped, it is
                                          impossible to decode (because the relevant delayed random access point has been
                                          dropped)

                                          • if all temporal units before the delayed random access point are dropped, it is unclear
                                          what should happen for frames between the delayed random access point and the key-
                                          frame dependent recovery point (some applications may wish these to be dropped, while
                                          others may wish them to be displayed)

                                          • in either case, the remaining temporal units do not constitute a valid standalone
                                          bitstream (because it does not start with a shown key frame)

                           (AV1 Bitstream & Decoding Process Specification, at 207).

                           Further, the evidence cited for claim limitations 8[A-B] applies to this claim limitation.

[D] decoding identifier    Each of the Accused Products, such as the ASUS Q543MV, performs a method of decoding a
values for image frames    compressed video sequence, the method comprising: decoding identifier values for image frames
according to a numbering   according to a numbering scheme.
scheme; and
                           For example and without limitation, the AV1 Specification also specifies decoding identifier values for
                           image frames according to a numbering scheme.


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                                                                                      U.S. Patent No. 8,050,321
           For example, the AV1 Decoder decodes identifier values for image frames according to a number
           scheme. For example, the order_hint field provides identifier values for image frames according to a
           numbering scheme. An example of order_hint is shown below.




           Source: VQ Analyzer testing of AV1 sample reference video.

           The AV1 Specification further describes how an AV1 decoder such as the accused products decodes
           identifier values for image frames according to a numbering scheme:

           5.9.2. Uncompressed header syntax


           ...



           .                                                .                                                 .




           (AV1 Bitstream & Decoding Process Specification, at 37-40)

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                                                                                                                U.S. Patent No. 8,050,321
                                6.4.1. General sequence header OBU semantics




                                (AV1 Bitstream & Decoding Process Specification, at, 115).

                                6.8.2. Uncompressed header semantics




                                                                                                                                   ...




                                (AV1 Bitstream & Decoding Process Specification, at, 150-54).

                                Further, the evidence cited for claim limitations 8[A-C] applies to this claim limitation.

[E] resetting the identifier    Each of the Accused Products, such as the ASUS Q543MV, performs a method of decoding a
value for the indicated first   compressed video sequence, the method comprising: resetting the identifier value for the indicated first
image frame of the              image frame of the independent sequence.
independent sequence.
                                For example and without limitation, the AV1 Specification also specifies resetting the identifier value
                                for the indicated first image frame of the independent sequence.

                                2. Terms and definitions


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                  Key frame

                  An Intra frame which resets the decoding process when it is shown.

           (AV1 Bitstream & Decoding Process Specification, at 3).

           5.9.2. Uncompressed header syntax




           (AV1 Bitstream & Decoding Process Specification, at, 38-40).


           Further, the evidence cited for claim limitations 8[A-D] applies to this claim limitation.




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